Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD Page 1 of 16

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MAY 03 2016

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS David J, Bradley Clerk of
’ Of Court

HOUSTON DIVISION

UNITED STATES OF AMERICA ‘
‘ CRIMINAL NO. H-16-004-S

    

RUDY FLORES ‘
AKA “GUERO” ‘
AKA “JAIME FLORES” ‘ FILED UNDER SEAL

AKA “CHELELO”

 

SUPERSEDING INDICTMENT %
THE GRAND JURY CHARGES THAT:
COUNT ONE
(Conspiracy to Possess With Intent to Distribute Controlled Substance)
Between on or about January 1, 2010 and continuing up to the date of the Indictment, in

the Southern District of Texas and elsewhere within the jurisdiction of the Court, Defendants,

 

RUDY FLORES
1
Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD Page 2 of 16

AKA “GUERO”
AKA “JAIME FLORES”
AKA “CHELELO”

 

did knowingly and intentionally conspire and agree with each other and with other persons
known and unknown to the Grand Jurors to possess with intent to distribute a controlled
substance. All the above-named defendants conspired to possess with intent to distribute 5
kilograms or more of a mixture or substance containing a detectable amount of cocaine, a
Schedule HI controlled substance.

In violation of Title 21, United States Code, Sections 846, 841(a)(1) and 841(b)(1)(A).
Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD Page 3 of 16

COUNT TWO
(Conspiracy to Import a Controlled Substance)
Between on or about January 1, 2010 and continuing up to the date of the Indictment, in

the Southern District of Texas and elsewhere within the jurisdiction of the Court, Defendants,

RUDY FLORES
AKA “GUERO”
AKA “JAIME FLORES”
AKA “CHELELO,”

 

 

did knowingly and intentionally conspire and agree with each other and with other persons
known and unknown to the Grand Jurors to import, from Mexico into the United States, a
controlied substance. All the above-named defendants conspired to import, from Mexico into the
United States, 5 kilograms or more of a mixture or substance containing a detectable amount of
cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Sections 963, 952(a), 960(a)(1) and (b)(1).
Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD Page 4 of 16

COUNT THREE
(Conspiracy to Launder Monetary Instruments)
From on or about January 1, 2010, and continuing up to the date of the Indictment, in the

Southern District of Texas and elsewhere within the jurisdiction of the Court, Defendants,

 

RUDY FLORES
AKA “GUERO”
AKA “JAIME FLORES”
AKA “CHELELO,”

 

did knowingly and intentionally conspire and agree with each other and with other persons
known and unknown to the Grand Jurers to transport monetary instruments, that is an amount of
United States currency, from a place in the United States to a place outside the United States,
that is the United Mexican States, with the intent to promote the carrying on of a specified
unlawful activity, that is, the manufacturing, importation, sale and distribution of controlled
substances as described in this Indictment and in violation of the Controlled Substances Act.

In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and (h).
Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD Page 5 of 16

COUNT FOUR
(Possession With Intent to Distribute Controlled Substance)
On or about October 17, 2011, in the Southern District of Texas and elsewhere within the

jurisdiction of the Court, Defendants,

did knowingly and intentionally possess with intent to distribute a controlled substance. This
violation involved a quantity of 500 grams or more, that is approximately 1 kilogram, of a
mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B), and

Title 18, United States Code, Section 2.
Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD Page 6 of 16

COUNT FIVE
(Possession With Intent to Distribute Controlled Substance)
On or about March 26, 2015, in the Southern District of Texas and elsewhere within the

jurisdiction of the Court, Defendants,

 

RUDY FLORES
AKA “GUERO”
AKA “JAIME FLORES”
AKA “CHELELO,”

 

did knowingly and intentionally possess with intent to distribute a controlled substance. This
violation involved a quantity of 500 grams or more, that is approximately 1 kilogram, of a
mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B), and

Title 18, United States Code, Section 2.
Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD Page 7 of 16

COUNT SIX
(Possession With Intent to Distribute Controlled Substance)
On or about April 18, 2015, in the Southern District of Texas and elsewhere within the

jurisdiction of the Court, Defendants,

RUDY FLORES
AKA “GUERO”
AKA “JAIME FLORES”
AKA “CHELELO,”

 

did knowingly and intentionally possess with intent to distribute a controlled substance. This
violation involved a quantity of 5 kilograms or more, that is approximately 17 kilograms, of a
mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A), and

Title 18, United States Code, Section 2.
Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD_ Page 8 of 16

COUNT SEVEN
(Possession With Intent to Distribute Controlled Substance)
On or about November 9, 2015, in the Southern District of Texas and elsewhere within

the jurisdiction of the Court, Defendants,

 

RUDY FLORES
AKA “GUERO”
AKA “JAIME FLORES”
AKA “CHELELO,”

did knowingly and intentionally possess with intent to distribute a controlled substance. This
violation involved a quantity of 100 grams or more, that is approximately 2 kilograms, of a
mixture or substance containing a detectable amount of cocaine, a Schedule H controlled
substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B), and

Title 18, United States Code, Section 2.
Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD Page 9 of 16

COUNT EIGHT
(Possession With Intent to Distribute Controlled Substance)
On or about December 6, 2015, in the Southern District of Texas and elsewhere within

the jurisdiction of the Court, Defendants,

RUDY FLORES
AKA “GUERO”
AKA “JAIME FLORES”
AKA “CHELELO,”

 

 

did knowingly and intentionally possess with intent to distribute a controlled substance. This
violation involved a quantity of 5 kilograms or more, that is approximately 40 kilograms, of a
mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A), and

Title 18, United States Code, Section 2.
Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD Page 10 of 16

COUNT NINE
(Possession With Intent to Distribute Controlled Substance)
On or about December 6, 2015, in the Southern District of Texas and elsewhere within

the jurisdiction of the Court, Defendant,

did knowingly and intentionally possess with intent to distribute a controlled substance. This
violation involved a quantity of 50 grams or more, that is approximately 2,290 grams of a
mixture or substance containing a detectable amount of methamphetamine, a Schedule II
controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A), and

Title 18, United States Code, Section 2.
Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD Page 11 of 16

COUNT TEN
(Possession With Intent to Distribute Controlled Substance)
On or about December 6, 2015, in the Southern District of Texas and elsewhere within

the jurisdiction of the Court, Defendant,

did knowingly and intentionally possess with intent to distribute a controlled substance. This

violation involved a quantity of 28 grams or more, that is approximately 61 grams, of a mixture

or substance containing a detectable amount of cocaine base, a Schedule I controlled substance.
In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B), and

Title 18, United States Code, Section 2.
Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD Page 12 of 16

COUNT ELEVEN
(Unlawful Possession of a Firearm by Illegal Alien)
On or about December 6, 2015, in the Southern District of Texas, the defendant,
ee
who, being an alien that is illegally and unlawfully in the United States, did knowingly possess in
and affecting interstate and foreign commerce, a firearm, namely, a Smith & Wesson, model
SW40F, .40 caliber pistol, serial number PAJ5560.

In violation of Title 18, United States Code, Sections 922(g)(5)(A) and 924(a\(2).

12
Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD Page 13 of 16

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13
Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD Page 14 of 16

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14
Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD Page 15 of 16

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15
Case 4:16-cr-00004 Document 48 Filed on 05/03/16 in TXSD Page 16 of 16

third party;

A TRUE BILL:

 

FOREPERSON OF THE GRAND JURY

KENNETH MAGIDSON
United States Attorney

 

CASEY N. MACDONALD
Assistant United States Attorney
